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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO


KYLE BEEBE,

                    Plaintiff,
vs.                                                                1:19-CV-00545 JHR/JFR

JOHN TODD,

                    Defendant.


                             PLAINTIFF’S MOTION FOR EXTENSION

      Kyle Beebe, through the undersigned counsel, moves the Court for a brief

extension of time to name and provide Rule 26(a)(2)(C) summary disclosures from his

treating healthcare providers showing that his injury and continued pain are the result

of the motor vehicle collision on May 5, 2016, and to extend the discovery deadline in

this lawsuit in order for Defendant only to pursue any discovery he feels necessary after

receiving those summary disclosures and as good cause for those extensions, would

show the Court as follows.

      1. The Court set deadlines for Plaintiff to name expert witnesses and for the

          close of discovery by the Court’s order of December 13, 2019. Those

          deadlines were February 14, 2020 and April 13, 2020, respectively.

      2. Counsel for Plaintiff misunderstood and was in error believing that treating

          healthcare providers were not subject to an “expert” label, believing that

          applied to only hired testimony such as has been presented by Defendant in

          support of his motion for summary judgment. Counsel’s error was in thinking

          that only such hired experts, those subject to providing a written report, had

          to be named in advance of the expert witness deadline. Because of
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   counsel’s error, the summary disclosures that are required by Rule 26(a)(2)(C)

   and the Court’s expert witness deadline were not obtained.

3. Plaintiff seeks a two week extension of the time to obtain those summary

   disclosures until May 25, 2020, and a commensurate extension past that time

   as found appropriate by the Court or as requested by Defendant to open

   discovery solely for Defendant to obtain any discovery he deems necessary

   after receipt of those disclosures.

4. The extensions sought will not unduly prejudice Defendant nor cause delay in

   this matter as the case has not been set for trial.

5. Good cause exists for these extensions as the error here is counsel’s only and

   in order to decide this lawsuit on its merits, counsel pleads with the Court that

   his error not be the cause of his client’s lawsuit being dismissed, as a result of

   a mistake that has caused confusion elsewhere previously on this point of

   law. See e.g. Doporto v. Chan Kim, Order of June 12, 2012, CV 10-145

   JH/WPL, Dkt. No. 85; Doctoring the Testimony: Treating Physicians, Rule 26,

   and the Challenges of Causation Testimony,” 33 Rev. Litig. 249 (2014).

6. Defendant opposes this motion.

   For the reasons stated, Plaintiff asks that this motion be granted.

                                   Respectfully submitted,

                                   VALDEZ AND WHITE LAW FIRM, LLC

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                                CERTIFICATE OF SERVICE

       This is to certify that the foregoing was emailed to defense counsel on May 11,
2020 via the Court’s CM/ECF system.

/s/ Timothy L. White
Timothy L. White
